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 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10   United States of America,                           Case No.: 19cr2178-DMS
11                                      Plaintiff,
                                                         ORDER AUTHORIZING
12   v.                                                  VIDEO TELECONFERENCE or
                                                         TELECONFERENCE
13   Sydney Nicole Abdallah,
14                                    Defendant.
15
16        A national state of emergency has been declared in response to the spread of the
17   Coronavirus. For everyone’s health and safety, the general population of California is
18   under a gubernatorial order to “shelter-in-place.” The detention facilities have imposed
19   quarantines or restrictions on access to detainees for the health of the detainees and staff.
20   The Judicial Conference of the United States found that conditions due to the national
21   emergency are materially affecting the functioning of the federal courts, and the Judicial
22   Council of the Ninth Circuit certified that emergency conditions existing in the Southern
23   District of California justify the temporary suspension of the 70-day period to bring the
24   defendant to trial. Public health recommendations and restrictions have impacted the
25   Court's ability to function as it usually does, to conduct in-person proceedings, and has
26   impaired the availability of counsel, parties, and Court staff to be present in the courtroom.
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 1        I therefore find pursuant to the CARES Act that the use of videoconferencing and
 2   teleconferencing to conduct these court proceedings, with the consent of the defendant, is
 3   in the interest of justice in that such procedure will prevent the defendant from remaining
 4   incarcerated longer than is necessary and will satisfy the objectives of sentencing under
 5   the U.S. Sentencing Guidelines and 18 U.S.C. § 3553.
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 7   Dated: December 30, 2020
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 8
                                           Honorable Dana M. Sabraw
 9                                         United States District Judge
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